                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,
           v.                                           Case No. 07-CR-57

THOMAS C. BALSIGER, ET AL.,

                      Defendant.


ORDER ADOPTING THE MAGISTRATE JUDGE'S RECOMMENDATION (Doc. # 316),
DENYING DEFENDANT BRUCE FURR’S MOTION TO DISMISS THE SUPERSEDING
INDICTMENT FOR FIFTH AMENDMENT DUE PROCESS VIOLATIONS (Doc. # 254),
   AND DENYING DEFENDANTS BRUCE FURR’S AND STEVEN FURR’S JOINT
  MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATIONS OF
         THEIR SIXTH AND FIFTH AMENDMENT RIGHTS (Doc. # 256)

                On December 18, 2008, Defendant Bruce Furr filed a Motion to Dismiss the

Superseding Indictment for Fifth Amendment Due Process Violations (Doc. # 254), alleging

misconduct by the United States associated primarily with a civil action initiated by the

Securities and Exchange Commission (SEC). Also on December 18, 2009, defendants

Bruce Furr and Steven Furr filed a Motion to Dismiss the Superseding Indictment for

Violations of the Sixth and Fifth Amendment Rights (Doc. # 256) asserting, among other

things, that the United States is impermissibly interfering with their ability to present a

defense. A modified briefing schedule on these motions ran its course, and on June 25,

2009, Magistrate Judge Patricia Gorence issued a Recommendation that this court deny

both motions. The defendants’ objections to the Recommendation, are now before the

court.

                On dispositive matters and certain other matters enumerated in

§ 636(b)(1)(A) and Fed. R. Crim. P 59, including motions to dismiss the indictment, a



         Case 2:07-cr-00057-LA     Filed 08/25/09    Page 1 of 9    Document 347
magistrate judge may only propose findings and make recommendations. § 636(b)(1)(A),

(B); Fed. R. Crim. P. 59(b)(1). A district court must review de novo the recommendations

of the magistrate judge to which a party timely objects. 28 U.S.C. § 636(b)(1)(C); Fed. R.

Crim. P. 59(b)(2), (3). However, portions of a recommendation to which no party objects

are reviewed for clear error. Johnson v. Zema Sys. Corp., 170 F.3d 734, 739 (7th Cir.

1999). Thus, the de novo standard of review applies only to matters on which a party

objects to a magistrate judge's recommendation (rather than an order) on the issues set

forth in § 636(b)(1)(A) and Fed. R. Crim. P. 59(b)(1). § 636(b)(1)(A)-(C); Fed. R. Crim. P.

59(b).

  BRUCE FURR’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR
       FIFTH AMENDMENT DUE PROCESS VIOLATIONS (Doc. # 254)

              For the most part, the material background facts as set forth by Judge

Gorence appear undisputed and need not be recited here. However, where alleged

disputes of fact have been raised, they will be addressed below as necessary.

              In his motion, Furr asserts that the United States used the SEC civil action

for the sole purpose of obtaining evidence for its criminal prosecution and thereby violated

Furr’s due process rights. Framed as an Objection, Furr maintains essentially that the

Recommendation fails to appreciate this argument. (See Furr Mem. in Supp. of Motion at

12; Furr Obj. at 11.)

              Furr suggests that his claim should be viewed in light of the Supreme Court’s

decision in United States v. Kordel, 397 U.S. 1 (1970), which indicates that a due process

violation may arise where the government brings a civil action in conscious effort to further

a criminal prosecution. In that case, the respondents sought reversal of their convictions


                                            -2-


         Case 2:07-cr-00057-LA     Filed 08/25/09     Page 2 of 9    Document 347
due to “such unfairness and want of consideration for justice” arising out of parallel civil and

criminal proceedings. 397 U.S. at 11.

              The Court rejected their argument noting, among other things, that “[w]e do

not deal here with a case where the Government has brought a civil action solely to obtain

evidence for its criminal prosecution.” Id.; see also United States v. Stringer, 535 F.3d 929

(9th Cir. 2008) (rejecting defendant’s claim of a due process violation under Kordel and

citing cases); United States v. Mahaffy, 446 F. Supp. 2d 115, 125-26 (E.D.N.Y. 2006)

(noting SEC official’s statement that discovery in civil action was sought without

involvement of U.S. Attorney’s office, which later brought parallel criminal charges against

defendant, and rejecting due process claim).

              Judge Gorence rejected this argument, and, upon review of the record, this

court agrees that no due process violation exists. Furr’s conclusory contention that the

United States used the SEC civil action “solely to obtain evidence for [the] criminal

prosecution,” is not supported by the record. The record reflects that SEC initiated its

investigation of the BCI defendants independently to vindicate the rights of defrauded

investors, and the subpoena at issue sought documents and records from Furr related to

that investigation. Indeed, despite Furr’s contentions that the SEC’s discovery demands

were unconnected to the BCI investigation, the relevance of the SEC’s discovery to that

investigation was apparently addressed by the District Court for the Northern District of

Indiana. As evidenced in the transcripts of proceedings before Judge McKinney, the court

rejected Furr’s assertion that the SEC’s discovery demands fell outside the scope of that

investigation. (See Doc. # 337 - Attachments). That the SEC investigation was initiated

after the indictment was handed down in this case, and the discovery in the two cases

                                             -3-


        Case 2:07-cr-00057-LA        Filed 08/25/09     Page 3 of 9    Document 347
overlap, is insufficient to establish that Furr’s constitutional rights were violated in the

manner anticipated in Kordel. And, similar to Mahaffy, the record indicates that the SEC

subpoenaed Furr without any direction from or involvement by the U.S. Attorney’s office.

See 446 F. Supp. 2d at 126 (“The facts in this case do not support a finding by this Court

that the Government has engaged in any such egregious conduct as to constitute a

violation of the universal sense of justice. The statement of Robert H. Murphy, Branch

Chief in the Division of Enforcement in the New York Regional Office of the S.E.C., belies

a conclusion that the investigations were intertwined.”); (Doc. # 337). Without more, Furr’s

allegation on this point fails.

               Furr’s related argument, that in the aggregate the government has engaged

in such outrageous behavior as to deprive him of his due process rights, must fail also.

The outrageous behavior, according to FURR, is illustrated in various ways including, (1)

the use of the SEC civil action solely to obtain evidence for the criminal prosecution (a

theory already rejected); (2) searching his office in Bloomington, Indiana when the search

warrant did not particularize his office; (3) withholding his IRS refund for two years; and (4)

depriving him of his property and right to counsel by preventing him from using proceeds

from sale of his business. (See Obj. at 18.) Furr has filed separate motions related to

several of these assertions.

               In considering similar claims, the Seventh Circuit has never taken the

“extreme step of dismissing criminal charges against a defendant because of government

misconduct.” United States v. Childs, 447 F.3d 541, 545 (7th Cir. 2006). For example, in

United States v. Childs, the Seventh Circuit concluded that the government willfully



                                             -4-


        Case 2:07-cr-00057-LA       Filed 08/25/09     Page 4 of 9     Document 347
suppressed impeachment evidence. The court noted that it was “convinced that the

conduct of government was designed to deliberately mislead the court and defense

counsel.”   Id. at 545.    Yet, it refused to accept the defendant’s argument that the

government’s conduct was “so outrageous that due process principles would absolutely

bar the government from invoking judicial processes to obtain a conviction.” Id. (quoting

United States v. Russell, 411 U.S. 423, 431-32 (1973)).

              Here, there is no evidence in the record of any conspiracy or other activity on

the government’s part that would constitute outrageous behavior to an extreme that would

violate Furr’s due process rights and require dismissal of the indictment. Indeed, Furr’s

claims of government misconduct are conclusory and without evidentiary support. In

comparison with Childs, there is nothing in the record indicating that the government has

misled the court or defense counsel on any matter.

              Furr acknowledges the high hurdle he faces in making this claim, but faults

the Recommendation for failing to explicitly distinguish this case from forty-year-old district

court decisions in United States v. Parrott, 248 F. Supp. 196 (D.D.C. 1965) and United

States v. Rand, 308 F. Supp. 1231 (N.D. Ohio 1970). However, those cases are not

necessarily on point, and thorough recitation of them was not needed for the

Recommendation to coherently reach its conclusion. For example, in Rand the court noted

inter alia that the government knew of pending criminal proceedings against the defendant

but did not inform the defendant, started an unnecessary civil action against the defendant

to obtain evidence for the criminal action, and obtained information directly from the

cooperative defendant after leading him to believe that he was immunized from



                                             -5-


       Case 2:07-cr-00057-LA        Filed 08/25/09     Page 5 of 9     Document 347
prosecution. 308 F. Supp. at 1234. In his objections, Furr does not develop his assertion

that this case “mirrors, if not exceed[s]” the situation in Rand, and in any event the record

does not support such a contention.

BRUCE FURR’S AND STEVEN FURR’S MOTION TO DISMISS THE SUPERSEDING
  INDICTMENT FOR VIOLATIONS OF THEIR SIXTH AMENDMENT AND SIXTH
                  AMENDMENT RIGHTS (Doc. # 256)

              Bruce and Steven Furr filed a joint motion to dismiss the superseding

indictment for violations of their Sixth Amendment and Fifth Amendment rights. Their

primary argument is that the government, i.e. the DOJ and the IRS, blocked them from

using significant, lawfully-obtained funds for their defense in violation of the Sixth

Amendment. Specifically, they assert that (1) the DOJ forced IOS to limit payment of legal

fees and costs to the Furrs, (2) the DOJ “review[ed] and restructur[ed] the sale of IOS with

the express purpose of preventing the Furr Defendants from receiving any and all cash

consideration from that transaction,” (Obj. at 17); and (3) the IRS refused for two years to

pay Bruce Furr an approximately $5 million tax refund to which he was entitled. For

support, the Furrs rely, almost entirely, on comparison to the Second Circuit’s decision in

United States v. Stein, 541 F.3d 130 (2d Cir. 2008). (See Obj. at 1.)

              The Furrs’ Objection to the Recommendation is a regurgitation of the

arguments presented to Judge Gorence. Judge Gorence thoroughly examined Stein and

concluded, after an extensive recitation of the record in this case, that “the facts in Stein

are not only clearly distinguishable, but are not comparable in the least to the prosecution’s

actions in this case.” (Rec. at 18.) This court agrees. The decision in Stein stemmed from

certain material findings, including that (1) but for the Thompson Memorandum and the



                                            -6-


       Case 2:07-cr-00057-LA        Filed 08/25/09    Page 6 of 9     Document 347
coercive actions of the U.S. Attorney’s office, KPMG would have paid the legal fees and

expenses of all its partners and employees, 541 F.3d at 146; (2) KMPG’s decision to cut

off all payments of legal fees and expenses to anyone who was indicted and condition

such payments on cooperation with the government was the direct consequence of

pressure applied by the U.S. Attorney’s office and thus constituted state action, id.; and (3)

the government’s interference with KPMG’s commitment to pay the defendants’ legal fees

and costs lacked justification, id. at 156. The result was that several defendants were

denied the ability to retain counsel of their choice, and all defendants were hindered in

preparing their defense. Id. at 157.

              In comparison, the record in this case does not reveal that government

coercion was the sole cause of IOS’s decision to limit payment of the Furrs’ defense fees.

Cf. Stein, 541 F.3d at 148 (“State action is established here as a matter of law because the

government forced KPMG to adopt its constricted Fees Policy.”). As discussed by Judge

Gorence, there is nothing in the record indicating that the U.S. Attorney’s office raised the

subject of legal fees with IOS, let alone that advancement of such fees would be used

against IOS in any manner. Indeed, the record reflects that IOS was in dire straits

financially, undercutting any finding that the Furrs would have undoubtedly received

unlimited payment of legal fees by IOS but for government coercion. Cf. id. at 155-56.

Relatedly, unlike the situation in Stein, the Thompson Memorandum was never mentioned,

much less repeatedly referred to by the government “to ‘reinforce the threat inherent in that




                                            -7-


       Case 2:07-cr-00057-LA        Filed 08/25/09    Page 7 of 9     Document 347
document.’”1       And even assuming that all parties were aware of the Thompson

Memorandum, the record does not reflect that provisions of that document led the U.S.

Attorney’s office to restrict IOS in advancing legal fees to the Furrs.

                Further, as Judge Gorence noted, IOS and the government entered the

Cooperation Agreement, which included provisions under which IOS agreed to escrow all

distributions, profits, and proceeds from any sale of the company pending resolution of the

criminal proceedings. (Rec. at 17.) The Furrs repeated assertion that the government

wrongly coerced IOS into this Agreement is conclusory, even assuming IOS (with the

approval of its Board) was working to relieve itself from indictment. It is not the mere

request and receipt of cooperation that the Stein court found objectionable, but the totality

of the circumstances in that case, including finding that the government’s unjustified

conduct barred certain defendants from retaining counsel of their choice and deteriorated

the ability of the defendants to be represented as they choose. As Judge Gorence

concluded, despite their attempts, the Furrs are simply unable to establish a constitutional

violation in line with Stein under the circumstances.




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          The Furrs assert that the use of the phrase “standard DOJ policy” in the charging letter m ust refer
to the Thom pson Mem orandum and therefore m ust be interpreted to m ean that the prosecution will take into
account a com pany’s advancem ent of attorneys fees in determ ining whether the com pany is cooperating.
(Obj. at 6-7.) The Furrs evidence this link between the charging letter and the Thom pson Mem orandum
through a statem ent m ade by an attorney working for a law firm that form erly represented IOS, who heard in
2005 from another attorney working for a different firm that the governm ent would be guided by the Thom pson
Mem orandum . (Obj. Ex. 1 - Affidavit of W . David Bernard.) As evidence of constitutional m isconduct, this
is a bit weak. As is the Furrs’ supporting statem ent that “the Recom m endation does not point to any
alternative ‘standard DOJ policy’ to which the United States could have been referring.” (Obj. at 7.) As such,
Judge Gorence’s note that unlike Stein, in which the governm ent repeatedly referred to the Thom pson
Mem orandum to reinforce the threat inherent in that docum ent, “the charging letter of August 10, 2005, m ade
no reference to the Thom pson Mem orandum and the letter said nothing about paym ent of legal fees,” is
entirely appropriate.

                                                    -8-


         Case 2:07-cr-00057-LA            Filed 08/25/09        Page 8 of 9       Document 347
              As for the contention regarding the withholding of Bruce Furr’s tax return,

Judge Gorence observed that the record failed to support the conclusion that the

prosecution had knowledge of or role in the IRS’s actions related to Bruce Furr. The

actions of the IRS could be based on any number of legitimate factors unrelated to this

case, and the defendants do little to tie this allegation to any constitutional violation that

would require dismissal of the indictment.

              Finally, the Furrs argument that the government’s alleged misconduct

constitutes a violation of their Fifth Amendment due process rights also fails.          The

Recommendation addressed nearly identical arguments presented in Bruce Furr’s Motion

to Dismiss for Fifth Amendment Due Process Violations. All of the Furrs’ arguments on

this point have been addressed and the Furrs present no authority indicating that the

government’s conduct, as already discussed and resolved, constitutes a violation of due

process. Hence, upon de novo review of the motion and supporting materials,

              IT IS ORDERED that the Magistrate Judge's Recommendation (Doc. # 316)

is adopted.

              IT IS FURTHER ORDERED that Bruce Furr’s Motion to Dismiss for Fifth

Amendment Due Process Violations (Doc. # 254) is denied.

              IT IS FURTHER ORDERED that Bruce Furr’s and Steven Furr’s Joint Motion

to Dismiss for Violations of Their Sixth and Fifth Amendment Rights (Doc. # 256) is denied.

              Dated at Milwaukee, Wisconsin, this 25th day of August, 2009.

                                                         BY THE COURT

                                                         /s/ C. N. Clevert, Jr.
                                                         C. N. CLEVERT, JR.
                                                         U. S. DISTRICT JUDGE

                                             -9-


       Case 2:07-cr-00057-LA        Filed 08/25/09    Page 9 of 9     Document 347
